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   From:          richard@richardbspencer.com
   Subject:       Spencer’s Response to Document Request and Interrogatories
   Date:          Wednesday, April 18, 2018 3:40:04 PM
   Attachments:   Spencers Response to Doc Request v1.pdf
                  Spencer Response to Interrogatories.pdf
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